             Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
...........................................................   X
NORMAN DENIS and JANICE DENIS,

                                           Plaintiffs,                     06 Civ. 963 (PKC)

                                                                           MEMORANDUM AND ORDER

NATIONAL RAILROAD PASSENGER
CORPORATION (d/b/a "AMTRAK), LONG
ISLAND RAILROAD, SPRINT SPECTRUM L.P.,
NEXTEL OF NEW YORK, INC. and STEPLIN
CONSTRUCTION COW.,

                                           Defendants.
...........................................................   X

P. KEVIN CASTEL, District Judge:

                     This personal injury action arises out of an accident that occurred in the HiIton

Corridor of New York's Pennsylvania Station ("Penn Station") on October 22, 2005.' The case

was tried before a jury in January 2009 and the jury returned a verdict finding defendant National

Railroad Passenger Corporation ("Amtrak") 100% liable for plaintiffs' injuries. Amtrak now

moves for post-verdict relief, pursuant to Rules 50(a) and (b) and 59(a) and (e), Fed. R. Civ. P.,

on its cross-claim for indemnification against defendants Sprint Spectrum L.P. and Nextel of

New York, Inc. (collectively, "SprintNextel").                    For the reasons outlined below, Amtrak's

motion is denied.

I.         Background

                      Amtrak first asserted its cross-claim for indemnification in February 2006 and

restated the claim in its December 31, 2007 Answer to the Second Amended Complaint. (Dkt.

Nos. 3, 52.) Amtrak bases its claim on section 12.02 of the March 1, 2001 Master License



' Familiarity with the facts of this litigation is assumed and those facts will not be restated at length here
          Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 2 of 11




Agreement (the "Agreement") between Amtrak and Nextel Communications, Inc. Section

12.02, entitled "Indemnification," states as follows:

               Without regard to negligence (of any degree), fault liability or
               strict liability on the part of Amtrak, its officers, directors, agents,
               contractors, andlor employees, Licensee agrees to release, defend,
               indemnify and hold Amtrak, its officers, directors, employees,
               agents and contractors, harmless from and against any and all
               claims, damages, losses, liabilities, costs and expenses, including
               attorneys' fees arising out of:

               . . . (b) Any personal injury to, or disease or death of, any person
               or persons, and any loss, damage, defacement, or destruction of
               property, arising out of or incident       the presence, activities,
               operations, or actions of Licensee, any Nextel Sublicensee, andor
               their respective property, agents, contractors, or employees on or
               about the Rights-of-way. . . .

(Trial Ex. 107, at 41-42.) (emphasis added). Amtrak maintains, as it has throughout this

litigation, that plaintiffs' injuries arose out of SprinVNextel's cable installation work in the

Hilton Corridor. As a result, Amtrak argues, section 12.02 requires SprinVNextel to bear the cost

of Amtrak's defense and to indemnify Amtrak for the jury award. SprinVNextel does not contest

the enforceability of section 12.02 or its potential application to the type of claim asserted.

               In July 2008, the Court denied summary judgment on Amtrak's cross-claim.

(Dkt. No. 174.) Amtrak moved for reconsideration of the Court's ruling and the Court responded

as follows:

               Framed as a motion to reconsider, Amtrak's [motion] invites this
               Court to respond to a sequence of interrogatories. This Court
               declines. Amtrak, indeed, has an indemnification agreement with
               SprinVNextel. But there are genuine issues of disputed fact
               whether the drag line was used for a purpose arising from or
               incidental to the work of SprinVNextel.

(Order of September 8,2008, Dkt. No. 203, at 2.)
             Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 3 of 11




                On January 5, 2009, immediately prior to the start of trial, Amtrak's counsel

confirmed    that the indemnification claim remained outstanding. (Tr. at 1 1.) Amtrak's counsel

also explained that Amtrak and SprintWextel had drafted joint, proposed jury interrogatories that

tracked the language of section 12.02. (        at 1 1 19.) He emphasized that those interrogatories

would enable the Court to rule on Amtrak's claim, as a matter of law, once the jury rendered its

verdict. (       "My cross-claims will be handled through those interrogatories," counsel stated,

"and the Court will have the indemnification agreement, but it's my position that once the jury

mle[s]-the    jury gives [its] decision[] on those questions, . . . the Court is going to be able to

make its decision. I don't even think you're going to need post[-]trial motions."    (Id.at 17.)
                In the same pre-trial colloquy, counsel for all three defendants confirmed that any

relevant factual issues in the case would be presented to the jury through the special

interrogatories and that no issue of fact necessary for resolution of Amtrak's indemnification

claim would be reserved.       (Id.at   15-16.) Amtrak's counsel specifically stated that: "It is my

understanding that if [the jurors] check yes on those [interrogatories], or they check no on those,

that those decisions will be dispositive, and . . . the Court will be able to then render its decision

on indemnification . . . ."   (Id.at 19.)
                 At trial, none of the defendants contested plaintiffs' account of the events leading

to Mr. Denis' injury.         All three, however, denied ownership of the drag line and actual

knowledge of its origin or purpose. Amtrak emphasized that the drag line was attached to

SprintMextel cables that had been run through the Hilton Corridor soffit during SprintMextel's

pre-2005 installations. According to Amtrak, the physical arrangement of the drag line-which
            Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 4 of 11




was secured to Sprint/Nextells cable at one end by a plastic tie-wrapsuggested that the drag

line had been installed contemporaneously with the cable.

                 Amtrak moved for judgment as a matter of law, pursuant to Rule 50, Fed. R. Civ.

P., at the close of the case and the Court reserved decision. (Tr. at 639.)

                 The jury returned its verdict on January 12, 2009. (Court Ex. 8.) Special

Interrogatory No. 4 on the final verdict form asked:

                 Does Mr. Denis' claim against Amtrak arise out of, or was it
                 incident to, the presence, activities or operations or actions of
                 Sprint Nextel, its contractor [Steplin Construction Corp.
                 ("Steplin")], or an agent, contractor or employee of Sprint Nextel
                 or Steplin?

(
I
d.at 2.) The jury answered "no" and assigned 100% of the fault for Mr. Denis's accident to
 -
Ambak.          at 2, 5.) The Court entered judgment on January 22, 2009, dismissing the Second

Amended Complaint as to Sprint/Nextel and Steplin and awarding plaintiffs approximately $4.2

million against Amtrak. (Dkt. No. 222.)

                 On February 9, 2009, Amtrak served and filed a post-verdict motion seeking

judgment as a matter of law, pursuant to Rules 50(a) and (b), Fed. R. Civ. P., or a new trial or

amended judgment, pursuant to Rule 59(a) and (e), Fed. R. Civ. P. (Dkt. Nos. 223-25.) Amtrak

raised four grounds for relief in its motion:

                 .    the Agreement obligates Sprint/Nextel to defend, indemnify
                      andfor hold Amtrak harmless in connection with plaintiffs'
                      claims;

                 .    the jury reached a seriously erroneous result in its answers to
                      verdict form question numbers (2) and (4) andfor those answers
                      constitute a miscarriage of j ~ s t i c e ; ~


 Special Interrogatory N o . 2 asked: 'Was Amtrak neghgent on exclusive instnunentality principles?" (Court Ex. 8.)
           Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 5 of 11




                   the Court erred as a matter of law when it instructed the jury on
                   the doctrine of res ipsa loquitur and permitted the jury to
                   answer verdict form questions based on that doctrine; and

               .   the jury's damage award (i) deviates materially from
                   reasonable compensation within the meaning of New York
                   CPLR § 5501(c), (ii) lacks legally sufficient evidentiary
                   support, andlor (iii) constitutes a seriously erroneous result.

               On February 27, 2009, Amtrak informed the Court that it had reached a

settlement-in-principle with plaintiffs and that its settlement obviated further consideration of

any post-trial motions relating to the plaintiffs' verdict against Amtrak. (2127109 Letter from R.

Joseph to Hon. P. K. Castel and all counsel of record.) Amtrak confirmed in the same letter that

it continued to seek post-verdict relief as to its indemnification claim against SprintINextel.   (u
               Judge Marvin E. Aspen conducted a post-trial settlement conference between

Amtrak and SprintINextel on April 20,2009 but no fiuther resolution was reached.

11.    Rules 50 and 59

               Rule 50(a) provides that "[ilf a party has been fully heard on an issue during a

jury trial and the court finds that a reasonable jury would not have a legally sufficient evidentiary

basis to find for the party," the Court may, upon motion by the opposing party, grant judgment as

a matter of law in the movant's favor. A motion under Rule 50(a) "may be made at any time

before the case is submitted to the jury." If the issue is submitted to the jury, the movant may

renew its request for judgment as a matter of law by filing a motion no later than 10 days h e r

the entry of judgment under Rule 50(b), Fed. R. Civ. P. On a renewed motion under Rule 50(b),

the court may "(1) allow judgment on the verdict, if the jury returned a verdict; (2) order a new

trial; or (3) direct the entry of judgment as a matter of law." Rule 50(b), Fed. R. Civ. P.
           Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 6 of 11




               "A movant's burden in securing Rule 50 relief is particularly heavy after the jury

has deliberated in the case and actually returned its verdict." Cross v. New York Citv Transit

Authority, 417 F.3d 241, 248 (2d Cir. 2005). "Under such circumstances, the district court may

set aside the verdict only where there is such a complete absence of evidence supporting the

verdict that the jury's findings could only have been the result of sheer surmise and conjecture,

or there is such an overwhelming amount of evidence in favor of the movant that reasonable and

fair minded men could not amve at a verdict against him."       Id.(citations, alterations and internal
quotation marks omitted). In construing Rule 50, the Supreme Court has explained that:

               although the court should review the record as a whole, it must
               disregard all evidence favorable to the moving party that the jury is
               not required to believe. That is, the court should give credence to
               the evidence favoring the nonmovant as well as that evidence
               supporting the moving party that is uncontradicted and
               unimpeached, at least to the extent that that evidence comes from
               disinterested witnesses.

Reeves v. Sanderson Plumbing Prods.. Inc., 530 U.S. 133, 151 (2000) (internal citation and

quotation marks omitted).

               Amtrak also moves, pursuant to Rule 59(a) and (e), for a new trial or amended

judgment granting its indemnification claim. In determining whether a new trial is appropriate

under Rule 59(a), the Court applies a less stringent standard than on a motion for judgment as a

matter of law. See Manlev v. Ambase Corn., 337 F.3d 237, 244-45 (2d Cir. 2003); Katara v.

D.E. Jones Commodities. Inc., 835 F.2d 966, 970 (2d Cir. 1987). "[Flor a district court to order

a new trial under Rule 59(a), it must conclude that the jury has reached a seriously erroneous

result or . . . the verdict is a miscarriage of justice, i.e., it must view the jury's verdict as against

the weight of the evidence."    w,
                                 337 F.3d at 245 (internal quotations and citation omitted).
           Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 7 of 11




"District courts may alter or amend judgment [under Rule 59(e)] 'to correct a clear error of law

or prevent manifest injustice."' Schwartz v. Libertv Mut. Ins. Co., 539 F.3d 135, 153 (2d Cir.

2008) (citation and alteration omitted). "Rule 59(e) covers a broad range of motions, and the

only real limitation on the type of . . . motion permitted is that it must request a substantive

alteration of the judgment, not merely the correction of a clerical error, or relief of a type wholly

collateral to the judgment."   Id. (citing 11 Charles Alan Wright    et al., FEDERAL
                                                                                   PRACTICE
                                                                                          &

PROCEDURE 8 28 10.1 (2d ed. 2008)).

111.   Discussion

               Amtrak's Rule 50 motion, in essence, argues that no reasonable jury could have

found as this jury did in response to Special Interrogatory No. 4. It asks the Court to rule, as a

matter of law, that plaintiffs' claims arose out of, or were incident to, Sprint/Nextel's work or

presence in the Hilton Corridor. &g Reply at 2. Alternatively, Amtrak asks the Court to amend

the judgment or to permit a new trial of disputed factual issues relevant to its cross-claim.   (u
               Amtrak contends that "the jury's finding cannot be reconciled with the

evidentiary record and the overlay of applicable law."        (Amtrak Br. at 12.) According to

Amtrak, "there is no dispute [that] a hole was created in the front of the sofit by or for Steplin's

subcontractor [in 20021" and that, "but for the existence of that hole on October 22, 2005, the

accident would never have taken place."                 "For that reason alone," Amtrak argues,

"plaintiffs' claim must be deemed to arise out of or be incident to the presence, activities or

operations of Steplin's subcontractor Dean, entitling Amtrak to indemnification under the

Agreement." (Id.) Amtrak does not support this argument with any citation to the trial record.

See Amtrak Br. at 12; Reply at 3,8.
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           Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 8 of 11




               Reviewing the record as a whole, the Court concludes that the jury's finding in

Special Interrogatory No. 4 was not based on "sheer surmise" or "seriously erroneous." Rather it

is rational, reasonable and well-supported by the evidence. Amtrak's own electrical construction

supervisor described a series of possible, alternative causes for the physical conditions that led to

Mr. Denis' accident. See Testimony of Amtrak supervisor Paul Fragiorgi, Tr. at 199:8-9,

229:20-230:3 (denying knowledge of who created the soffit hole); 230:9-24 (reviewing

deposition testimony that he was unaware of any hole made by Steplin during Steplin's Hilton

Corridor work); id. at 249:23-251:23,272:6-11 (describing the physical effects of vandalism and

homelessness in Penn Station); id. at 253:4-255:18 (acknowledging extensive cable work in Penn

Station by unidentified contractors during the 2004 Republican National Convention);           id. at
257:20-258:24 (describing pre-2005 cable work by the New York City Police Department and

the renovation of a Hilton Corridor restaurant adjacent to the scene of Mr. Denis' fall). The

president of Steplin testified that the drag line was not from Steplin's work or that of Sprint.

Testimony of Stephen Cohen, Tr. at 293:lO-19 (describing the condition of tie-wraps inside the

soffit as inconsistent with Steplin and SprintlNextel installation practice);      id. at   298:lO-16

(denying knowledge of who created the soffit hole and testifying that Steplin did not create the

hole); id. at 3 17:10-15 (noting the absence of any reference to a drag line in SprintlNextel's Penn

Station project specifications); id. at 318:5-13 (opining that the drag line recovered from the

Hilton Corridor soffit would not have been sufficiently rigid for use in Steplin's cable

installation). The Sprinmextel construction manager's testimony was consistent with that of

Steplin's president.    See Testimony of Jason Van Horn, Tr. at 338:7-9 (denying that
Sprinmextel, or anyone working on its behalf, used the drag line in question for its work in the
           Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 9 of 11




Hilton Corridor); id. at 344:9-14 (testifying that he did not recall seeing a hole in the soflit upon

completion of Steplin's work in the Hilton Corridor);     id. at 362:13-363:12 (describing a final
inspection of Steplin's work in the Hilton Corridor and testifying that no member of the

inspection team, including the Amtrak representative present, observed or reported a hole in the

soffit).

               Although Amtrak asserts that "the only reasonable, non-speculative finding that

can be made based on the probative evidence is that the ragged hole evolved from the hole first

created for SprintNextel in 2002" (Reply Br. at 8 (emphasis in original)), Amtrak does not

support this assertion with citations to the record. Amtrak also admits, at page three of its

opening brief, that "[elvery defendant denied creating th[e] ragged hole [from which the drag

line hung on October 22,20051 and no witness professed to know who had created it." (Amtrak

Br. at 3.) Given the existence of trial testimony that would permit a reasonable fact-finder to

conclude that neither SprintNextel nor its contractor created the Hilton Corridor soffit hole

during their installations, Amtrak's unsupported assertions do not demonstrate "such an

overwhelming amount of evidence in favor of [Amtrak] that reasonable and fair minded men

could not arrive at a verdict against [it]." Cross, 417 F.3d at 248. Nor do such assertions

establish that "the verdict is a miscarriage of justice." Manlev, 337 F.3d at 245. Amtrak's

motion for judgment as a matter of law is denied. Its motion for a new trial on weight of the

evidence grounds is also denied.

               Amtrak also argues that, independent of the damages award, section 12.02 of the

Agreement entitles it to recovery of its defense costs. (Amtrak Br. at 15.) Because plaintiffs'

claim specifically alleged joint negligence by Amtrak and SprintNextel "from the outset,"
              Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 10 of 11




Amtrak reasons, "SprinVNextel was unambiguously obligated .                   . . to defend     Amtrak from

plaintiffs'   claim against Amtrak."    (Reply at 10.) Amtrak supports this argument by citing case

law from the District of Columbia that discusses an expansive indemnitor duty to defend in the

insurance ~ o n t e x t . ~Amtrak acknowledges, however, that "there does not appear to be any

District of Columbia case law expressly applying these general principles to an agreement

between two private parties, neither of which is an insurance company." (Amtrak Br. at 15.)

Amtrak's argument for defense costs also suffers the same basic defect as its general

indemnification claim, which is that the jury's finding in Special Interrogatory No. 4 precisely

tracked the language of section 12.02 and affirmatively denied the existence of any causal

relationship sufficient to trigger defense obligations under that provision.

                  Finally, Amtrak argues that it is entitled to relief under Rule 59(a) because the

Court erred in giving a res ipsa loquitur instruction to the jury.           (aat 16.)      Amtrak does not

identify any legal error in the substance of the Court's res ipsa instruction. But "Amtrak had

difficulties enough," it explains, "fighting off concerted finger-pointing attacks by the other

parties" during trial.   (Id.at   19.) According to Amtrak, the Court's decision to issue a res ipsa

instruction "could well have provided the jury with the final motivation needed to find against

Amtrak on every interrogatory question."         (u)Amtrak appears to suggest that the entire verdict
was tainted by the Court's inclusion of a res ipsa instruction because the jury interpreted that

instruction as an invitation to improperly assign 100% of the fault for Mr. Denis' injury--on

&negligence           principlesto Amtrak. The Court declines to adopt Amtrak's theory in light


' Amnak emphasizes throughout its briefs that the Agreement terms should be governed by District of Columbia
law. Amtrak has not identified any material conflict between New York law and District of Columbia law, and the
Court concludes that no further choice-of-law analysis is necessary to resolve the instant motion.
            Case 1:06-cv-00963-PKC Document 236 Filed 09/28/09 Page 11 of 11




of the evidence discussed above, and it concludes that the jury's affirmative answer to Special

Interrogatory No. 1 ("Was Amtrak negligent on general negligence principles?') precludes any

showing of prejudice from the res ipsa instruction. Amtrak's request for a new trial on erroneous

instruction grounds is denied. See. e.g., Time. Inc. v. Peterson Publishing Co.. LLC, 173 F.3d

113, 119 (2d Cir. 1999).

IV.    Conclusion

               For the foregoing reasons, Amtrak's motion for post-verdict relief is denied in its

entirety.

               SO ORDERED.




                                                         United States District Judge


Dated: New York, New York
       September 25,2009
